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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 22-20170-CR-SCOLA/GOODMAN

 UNITED STATES OF AMERICA,

        v.

 GZUNIGA LTD.,
 NANCY TERESA GONZALEZ de BARBERI,
 DIEGO MAURICIO RODRIGUEZ GIRALDO,
                                                                  UNDER SEAL
 and JOHN CAMILO AGUILAR JARMILLO,
       a/k/a "Jhon Camilo Aguilar Jaramillo,"
       a/k/a "JhonCa,"
                                  Defendants.

________________________________________________/

                             LIMITED UNSEALING ORDER

        The United States of America, having applied to this Court for an Order UNSEALING the
 Indictment, Arrest Warrants, and the associated attachments filed in this matter, for the LIMITED
 purpose of providing copies necessary to process provisional arrest and extradition requests to
 Colombian law enforcement for the defendants herein, and the Court finding good cause therefore:
        IT IS HEREBY ORDERED that the motion for limited unsealing order (ECF No. 5) is granted.
 The Indictment, Arrest Warrants, and the associated attachments. filed April 26, 2022, in this matter
 shall be UNSEALED, for the LIMITED purposes of allowing the government to meet its disclosure
 obligations to foreign law enforcement authorities as necessary to pursue the provisional arrest and
 extradition of the charged defendants. The SEALING ORDER shall otherwise remain in place.
        DONE AND ORDERED in chambers at Miami, Florida, on May 9, 2022.



                                            ROBERT N. SCOLA, JR.
                                            UNITED STATES DISTRICT JUDGE


 cc: AUSA T. Watts-Fitzgerald
